           Case 1:18-vv-00646-UNJ Document 32 Filed 10/11/19 Page 1 of 2




         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-0646V
                                       Filed: July 24, 2019
                                         UNPUBLISHED


    KERIA EDWARDS,

                         Petitioner,                          Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Table Injury; Tetanus Diphtheria
    SECRETARY OF HEALTH AND                                   acellular Pertussis (Tdap) Vaccine;
    HUMAN SERVICES,                                           Shoulder Injury Related to Vaccine
                                                              Administration (SIRVA)
                        Respondent.


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On May 7, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) resulting from a Tetanus Diphtheria acellular Pertussis
(“Tdap”) vaccine received on October 25, 2016. Petition at 1. The case was assigned
to the Special Processing Unit of the Office of Special Masters.



1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
         Case 1:18-vv-00646-UNJ Document 32 Filed 10/11/19 Page 2 of 2



        On July 24, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent states that “petitioner has satisfied the criteria set forth in the
Vaccine Injury Table for SIRVA.” Id. at 5. Respondent further agrees that medical
records demonstrate that petitioner “suffered the residual effects of her condition for
more than six months . . . [and] has satisfied all legal prerequisites for compensation
under the Vaccine Act.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
